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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                            FOR THE DISTRICT OF ARIZONA
10     Keith Raniere,
                                                              CV-22-00212-TUC-RCC
11                          Plaintiff,
                                                         DEFENDANTS’ RESPONSE TO
12            vs.                                           PLAINTIFF’S MOTION
                                                              TO EXTEND TIME
13     Merrick Garland, et al.,
14                           Defendants.
15
16          Defendants Garland, Peters, Gutierrez and Ulrich, acting in their official capacities
17   by and through undersigned counsel, hereby respond to Plaintiff’s Motion to Extend Time
18   Due to Excusable Neglect (Doc. 35).
19          On September 9, 2022, Plaintiff filed a Motion for Leave to Amend Complaint,
20   seeking to “cure” his failure to exhaust administrative remedies “in part by expanding the
21   temporal scope of the complaint to include instances of retaliation for which Plaintiff has
22   exhausted administrative remedies.” (Doc. 28 at 4.) On September 23, 2022, Defendants
23   filed their response. (Doc. 31.)
24          On October 3, 2022, Plaintiff’s counsel contacted undersigned counsel stating, “I
25   am writing to request an extension of one day for the reply to the opposition to Plaintiff’s
26   motion for leave to amend.” (Ex. A, Emails between counsel.) She further stated, “The
27   reason for the extension is that the reply was superseded by the emergency TRO.” (Id.)
28   Undersigned counsel informed her that she could not “agree to extend a deadline that has
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 1   already expired.” 1 (Id.) Plaintiff’s counsel then raised the issue of filing a “motion for
 2   excusable neglect” for the first time. (Id.) She did not, however, identify the purported
 3   excusable neglect. (Id.)
 4          Later that day, Plaintiff filed the instant motion, asserting as “excusable neglect”
 5   counsel’s work on the Motion for Temporary Restraining Order that was filed before 10:30
 6   a.m. on Thursday, counsel’s travel to Florence on Thursday and “several legal calls with
 7   clients” and a meet and confer on Friday. (Doc. 35 at 3.)
 8          The determination whether neglect is excusable
 9                 is at bottom an equitable one, taking account of all relevant
                   circumstances surrounding the party’s omission. These
10                 include, as the Court of Appeals found, the danger of prejudice
                   to the [defendant], the length of the delay and its potential
11                 impact on judicial proceedings, the reason for the delay,
                   including whether it was within the reasonable control of the
12                 movant, and whether the movant acted in good faith.
13   Pioneer Inv. Servs. Co. v. Brunswick Assocs. Ltd. Partnership, 507 U.S. 380, 395 (1993).
14          Here, it is clear that there is little danger of prejudice to Defendants or impact on the
15   judicial proceedings, given that a potentially dispositive motion currently is pending before
16   the court. However, the reason for the delay, including whether it was within the
17   reasonable control of the movant, is less clear. Counsel’s communication with
18   undersigned counsel requested consent to extend an already expired deadline, indicating a
19   misunderstanding of the rules. (See Ex. A.) Also, the statement that the Motion for TRO
20   “superseded” the reply indicates it was a conscious decision to file the motion instead of
21   the reply. (See Id.)
22          The general rule is that “a mistake of law does not constitute excusable neglect.”
23   Committee for Idaho’s High Desert, Inc. v. Yost, 92 F.3d 814, 825 (9th Cir. 1996). The
24   rule applies equally to mistakes in interpreting the local rules and rules of civil procedure.
25   Kyle v. Campbell Soup Co., 28 F.3d 928, 929-30 (9th Cir. 1994). The Ninth Circuit noted
26   that while the Supreme Court “recognized that ‘excusable neglect’ is a flexible, equitable
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            1
             Undersigned counsel has consented to Plaintiff’s two timely requests for
     extension of time. (Docs. 24 at 1, 26 at 2.)

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 1    concept, the Court also reminded us that ‘inadvertence, ignorance of the rules, or mistakes
 2    construing the rules do not usually constitute ‘excusable’ neglect.’” Id. at 931, quoting
 3    Pioneer, 507 U.S. at 392.
 4              Additionally, “Congress plainly contemplated that the courts would be permitted,
 5    where appropriate, to accept late filings caused by inadvertence, mistake, or carelessness,
 6    as well as by intervening circumstances beyond the party’s control.” Pioneer, 507 U.S. at
 7    388. Here, counsel’s email indicates that the decision to file the Motion for TRO rather
 8    than the reply may have been intentional, not negligent. (See Ex. A.)
 9              Based on the foregoing, Plaintiff does not appear to have established that the reply
10    was filed late due to excusable neglect.
11              RESPECTFULLY SUBMITTED: October 11, 2022.
12                                                 GARY M. RESTAINO
                                                   United States Attorney
13                                                 District of Arizona
14
                                                   s/ Denise Ann Faulk
15                                                 DENISE ANN FAULK
                                                   Assistant U.S. Attorney
16
17 Copy of the foregoing served via EM/ECF to
18 Stacy Scheff
   LAW OFFICE OF STACY SCHEFF
19 P.O. Box 40611
   Tucson, AZ 85717
20
21 s/ Pamela. Vavra
     / Response to MTE Time to Reply
22
23
24
25
26
27
28


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